Case 06-10725-gwz   Doc 3730   Entered 05/14/07 14:12:23   Page 1 of 10




                       EXHIBIT H
Case 06-10725-gwz   Doc 3730   Entered 05/14/07 14:12:23   Page 2 of 10
Case 06-10725-gwz   Doc 3730   Entered 05/14/07 14:12:23   Page 3 of 10
Case 06-10725-gwz   Doc 3730   Entered 05/14/07 14:12:23   Page 4 of 10
Case 06-10725-gwz   Doc 3730   Entered 05/14/07 14:12:23   Page 5 of 10
Case 06-10725-gwz   Doc 3730   Entered 05/14/07 14:12:23   Page 6 of 10
Case 06-10725-gwz   Doc 3730   Entered 05/14/07 14:12:23   Page 7 of 10
Case 06-10725-gwz   Doc 3730   Entered 05/14/07 14:12:23   Page 8 of 10
Case 06-10725-gwz   Doc 3730   Entered 05/14/07 14:12:23   Page 9 of 10
Case 06-10725-gwz   Doc 3730   Entered 05/14/07 14:12:23   Page 10 of 10
